Case 2:22-cv-02829-CJB-MBN Document 86 Filed 10/17/23 Page 1 of 6

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

KENNETH MOREE, ET AL * CIVIL ACTION NO. 2:22-cv-02829

VERSUS
* JUDGE CARL J. BARBIER

CHEVRON PIPELINE COMPANY,
ET AL * MAGISTRATE JUDGE MICHAEL B. NORTH

RARER KEKKEKRKEKKEKRKEKRKEKREKRKRKEKEKRAKRKRKRKHKKKRKRKRKRKRKRKRKRKKKKRKRKRKRKR KKK KKK

AMENDED PETITION OF INTERVENTION

TO THE HONORABLE, THE JUDGES OF THE UNITED STATES DISTRICT COURT,
WITHIN AND FOR THE EASTERN DISTRICT OF LOUISIANA

NOW INTO COURT, through the undersigned counsel, comes LUBA CASUALTY

INSURANCE COMPANY appearing as Intervenor herein, and with respect, alleges that:
1.

LUBA CASUALTY INSURANCE COMPANY is an insurance corporation authorized to

do and doing business in the State of Louisiana.
2.

On and prior to October 24, 2019, the date of the alleged accident sued upon by plaintiffs
in the principal demand and at all relevant times, LUBA CASUALTY INSURANCE COMPANY
was the workers' compensation insurer of Wastewater Treatment Systems and Operations, the
employer of KENNETH MOREE, plaintiff in the principal demand.

3.

On or about October 24, 2019, while employed by said employer and acting in the course

and scope of his employment, KENNETH MOREE sustained physical injuries by an accident as

mentioned in the petition filed by KENNETH MOREE, and the workers' compensation laws of
Case 2:22-cv-02829-CJB-MBN Document 86 Filed 10/17/23 Page 2 of 6

Louisiana were and are applicable to all rights and liabilities and obligations as between
KENNETH MOREE on the one hand and his employer, Wastewater Treatment Systems and
Operations, on the other hand.

4.

Because of injuries sustained by KENNETH MOREE in the accident referred to in the petition
filed by him herein, and because of medical and other professional care made necessary as a result
thereof, under the workers' compensation laws of Louisiana, LUBA CASUALTY INSURANCE
COMPANY has made payments to and/or for the account of KENNETH MOREE for hospital and
medical and other expenses for professional care and also has made payments to and/or for the account
of KENNETH MOREE for workers' compensation benefits.

5.

All payments that LUBA CASUALTY INSURANCE COMPANY has made and may
hereafter make to and/or for the account of KENNETH MOREE were made and will be made because
of injuries sustained by KENNETH MOREE in said accident and because of the obligations of LUBA
CASUALTY INSURANCE COMPANY as the insurer of the employer of KENNETH MOREE
under the Workers' Compensation Laws of Louisiana.

6.

By virtue of the Workers' Compensation Laws, and other laws of Louisiana, and by virtue of
the subrogation rights and other provisions in the insurance policy providing said workers'
compensation insurance coverage to the employer of KENNETH MOREE, LUBA CASUALTY
INSURANCE COMPANY had and has a right of action against all third parties allegedly responsible

for said accident to recover all payments that it has made and may hereafter make pursuant to said
Case 2:22-cv-02829-CJB-MBN Document 86 Filed 10/17/23 Page 3 of 6

Workers' Compensation Laws, and accordingly has a claim and a right of action against all defendants
herein for recovery of any and all such amounts.
7.

LUBA CASUALTY INSURANCE COMPANY has an interest in the outcome of this lawsuit
to recover all such payments that have been made and may be made by it as above mentioned, and
LUBA CASUALTY INSURANCE COMPANY desires to intervene herein and claim all such
amounts and in the event any recovery by KENNETH MOREE should be made herein, LUBA
CASUALTY INSURANCE COMPANY was and is entitled to and does claim any and all such
amounts that it has paid and may pay, out of any such recovery, by way of preference.

8.

As Intervenor, LUBA CASUALTY INSURANCE COMPANY joins with plaintiffs in
asserting claims against the Defendants herein, and primarily on information and belief, LUBA
CASUALTY INSURANCE COMPANY adopts as its own and incorporates herein by reference the
same as if having been rewritten herein in extenso, all allegations of plaintiffs’ petition.

9.

Whatever damages KENNETH MOREE, as plaintiff, may recover herein should be so
apportioned in any judgment rendered that the claim of LUBA CASUALTY INSURANCE
COMPANY as Intervenor, for all workers' compensation benefits paid and may be paid by it because
of injuries sustained by KENNETH MOREE in said accident shall take precedence over all claims of
KENNETH MOREE herein to the extent of any and all such amounts; and said judgment also should
provide that if such damages that may be awarded to KENNETH MOREE are not sufficient or are
sufficient only to reimburse said LUBA CASUALTY INSURANCE COMPANY for the total of the

amounts it has paid and may pay as of that time that such damages should be assessed solely in favor
Case 2:22-cv-02829-CJB-MBN Document 86 Filed 10/17/23 Page 4 of 6

LUBA CASUALTY INSURANCE COMPANY, but if such damages are more than sufficient to
reimburse LUBA CASUALTY INSURANCE COMPANY then any excess over the total of the
amount and/or amounts payable to LUBA CASUALTY INSURANCE COMPANY should be
assessed in favor of KENNETH MOREE and upon the payment thereof to KENNETH MOREE and
all liability of LUBA CASUALTY INSURANCE COMPANY and/or the employer of KENNETH
MOREE for any and all additional benefits under the Workers' Compensation Laws of Louisiana to
and for the account of KENNETH MOREE should be ordered ceased for such part of such workers’
compensation benefits due computed at six (6.0%) percent per annum or at whatever maximum rate
may be allowed shall be satisfied by such payment.

10.

In the event whatever damages KENNETH MOREE may recover shall not be sufficient to
reimburse LUBA CASUALTY INSURANCE COMPANY for all payments made by it as of that
time and also fully to satisfy any further workers' compensation liability of said LUBA CASUALTY
INSURANCE COMPANY and/or the employer of KENNETH MOREE for any benefits that may
be computed at the maximum discount rate then allowable, LUBA CASUALTY INSURANCE
COMPANY should have judgment in its favor and against the defendants herein, in solido, for an
amount equal to any and all workers' compensation liability that LUBA CASUALTY INSURANCE
COMPANY may have had.

11.

Alternatively, LUBA CASUALTY INSURANCE COMPANY alleges that in the event

whatever damages KENNETH MOREE may recover shall not be sufficient so as to reimburse said

LUBA CASUALTY INSURANCE COMPANY for all workers' compensation benefits made as of
Case 2:22-cv-02829-CJB-MBN Document 86 Filed 10/17/23 Page 5 of 6

that time and fully to satisfy any additional workers' compensation liability of LUBA CASUALTY
INSURANCE COMPANY and/or the employer of KENNETH MOREE computed at the maximum
discount rate that may be then appropriate, and if LUBA CASUALTY INSURANCE COMPANY is
not awarded an amount equal to any and all additional workers' compensation liability that LUBA
CASUALTY INSURANCE COMPANY and/or the employer of KENNETH MOREE may have had
and may have in excess of any amounts that may have been awarded to said KENNETH MOREE
and said LUBA CASUALTY INSURANCE COMPANY all rights should be reserved to LUBA
CASUALTY INSURANCE COMPANY and to the said employer of KENNETH MOREE to assert
against the defendants herein and/or any of them and anyone else at any appropriate time any and all
claims that LUBA CASUALTY INSURANCE COMPANY may have had and may have because of
any workers' compensation liability for any amounts that may not have been satisfied by any judgment
rendered herein.

WHEREFORE, Intervenor prays that leave of Court be granted to file this amended
intervention and that after all due proceedings have been had, there be judgment rendered herein in
favor of said Intervenor, LUBA CASUALTY INSURANCE COMPANY, and against plaintiffs,
KENNETH MOREE and FRAN MOREE, and against defendants, CHEVRON PIPE LINE
COMPANY; DXP ENTERPRISES, INC.; XYLEM, INC. d/b/a GOULDS WATER
TECHNOLOGY, a/k/a GOULDS PUMPS; DAYTON ELECTRIC MANUFACTURING CO.;
FLINT & WALLING, INC.; S.J. ELECTRO SYSTEMS, LLC successor to OHIO ELECTRIC
CONTROL, INC.; SCHNEIDER ELECTRIC USA, INC. f/k/a SQUARE D. COMPANY d/b/a
SQUARE D; PULSAFEEDER, INC.; EMERSON ELECCTRIC CO.; ROSEMOUNT, INC.; OHIO
ELECTRIC CONTROL, INC.; and, THE CINCINNATI INSURANCE COMPANY, for the full and

true sum of all workers' compensation benefits and medical expenses paid to or on behalf of plaintiff,
Case 2:22-cv-02829-CJB-MBN Document 86 Filed 10/17/23 Page 6 of 6

KENNETH MOREE, together with legal interest thereon from date of judicial demand until paid and
for the additional full and true sum of any and all amounts that may or might be paid in the future by
intervenor and for all costs of these proceedings.
Intervenor further prays for all general and equitable relief and for all orders and decrees
necessary in the premises, and for all costs.
Respectfully submitted,

FUNDERBURK & BUTLER

BY: s/ David T. Butler, Jr.
DAVID T. BUTLER, JR. #14123
8550 United Plaza Boulevard, Suite 202 (70809)
Post Office Box 80539
Baton Rouge, Louisiana 70898
Telephone: 225 / 924-1000
Facsimile: 225 / 924-1100
davidbutler@fblawoffice.com

